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    8                      UNITED STATES DISTRICT COURT
    9                     CENTRAL DISTRICT OF CALIFORNIA
   10
   11   RLI Insurance Company,             )   CASE NO. CV 22-3173 DSF
                                           )
   12                     Plaintiff(s),    )   ORDER RE JURY TRIAL
                                           )
   13                                      )   I. DEADLINES
        v.                                 )
   14                                      )   A. Motion to Amend Pleadings or Add
                                           )   Parties Cut-off: 10/31/22
   15   Harvest King Trading USA, Limited, )
        et al.,                            )   B. Discovery Cut-off: 3/6/23
   16                                      )
                                           )   C. Expert Witness Exchange Deadline
   17                     Defendant(s).    )      Initial:            4/5/23
                                           )      Rebuttal:           5/5/23
   18                                      )      Cut-off:            6/5/23
   19                                          D. Motion Hearing Cut-off: 6/3/23
   20                                          E. ADR Cut-off:
   21                                          F. Trial Documents (Set One): 8/21/23
   22                                          G. Trial Documents (Set Two): 8/28/23
   23
                                               H. Pretrial Conference: 9/11/23 @
   24                                          3:00 p.m.
   25                                          I. Trial Date: 10/17/23 @ 8:30 a.m.
   26                                          II.    TRIAL PREPARATION
   27                                          III.   CONDUCT OF ATTORNEYS
                                                      AND PARTIES
   28

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    1                                             I
    2                                      DEADLINES
    3           A.        PARTIES/PLEADINGS
    4           The Court has established a cut-off date for adding parties or amending
    5   pleadings. All motions to add parties or to amend the pleadings must be noticed
    6   to be heard on or before the cut-off date. All unserved parties will be dismissed at
    7   the time of the pretrial conference pursuant to Local Rule 16-8.1.
    8           B.        DISCOVERY AND DISCOVERY CUT-OFF
    9           1. Discovery Cut-off: The Court has established a cut-off date for
   10   discovery and expert discovery if applicable. This is not the date by which
   11   discovery requests must be served; it is the date by which all discovery, including
   12   all hearings on any related motions, is to be completed. The parties should review
   13   carefully any motion requirements of the assigned magistrate judge to ensure that
   14   motions are made timely.
   15           2. Discovery Disputes: Counsel are expected to comply with all Local
   16   Rules and the Federal Rules of Civil Procedure concerning discovery. Whenever
   17   possible, the Court expects counsel to resolve discovery problems among
   18   themselves in a courteous, reasonable, and professional manner. The Court
   19   expects that counsel will adhere strictly to the Civility and Professionalism
   20   Guidelines, which can be found on the Court’s website under “Attorney
   21   Information>Attorney Admissions.”
   22           3. Discovery Motions: Any motion challenging the adequacy of discovery
   23   responses must be filed, served, and calendared sufficiently in advance of the
   24   discovery cut-off date to permit the responses to be obtained before that date if the
   25   motion is granted.
   26           4. Depositions: All depositions must commence sufficiently in advance of
   27   the discovery cut-off date to permit their completion and to permit the deposing
   28   party enough time to bring any discovery motions concerning the deposition
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    1   before the cut-off date.
    2           5. Written Discovery: All interrogatories, requests for production of
    3   documents, and requests for admissions must be served sufficiently in advance of
    4   the discovery cut-off date to permit the discovering party enough time to
    5   challenge (via motion practice) responses deemed to be deficient.
    6           6. Expert Discovery: All disclosures must be made in writing. The parties
    7   should begin expert discovery shortly after the initial designation of experts. The
    8   pretrial conference and trial dates will not be continued merely because expert
    9   discovery is not completed. Failure to comply with these or any other orders
   10   concerning expert discovery may result in the expert being excluded as a witness.
   11           C.        MOTIONS
   12           The Court has established a cut-off date for the hearing of motions. All
   13   motions must be noticed so that the hearing takes place on or before the motion
   14   cut-off date. Counsel must provide Chambers with conformed paper chambers
   15   copies of all documents. Chambers copies should not be put in envelopes.
   16   Counsel should consult the Court’s Standing Order, previously provided, to
   17   determine the Court’s requirements concerning motions. A copy of the Standing
   18   Order is also available on the Court’s website at www.cacd.uscourts.gov>Judges’
   19   Procedures and Schedules>Hon. Dale S. Fischer.
   20           D.        PRETRIAL CONFERENCE
   21           1. A pretrial conference date has been set pursuant to Rule 16 of the
   22   Federal Rules of Civil Procedure and Local Rule 16-8. Each party appearing in
   23   this action must be represented at the pretrial conference by the attorney who is to
   24   have charge of the conduct of the trial on behalf of such party, unless excused for
   25   good cause. Counsel should not claim to be co-lead trial counsel for the purpose
   26   of avoiding this requirement. If counsel purport to be co-lead trial counsel, both
   27   must attend the pretrial conference. Counsel should be prepared to discuss
   28   streamlining the trial, including presentation of testimony by deposition excerpts
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    1   or summaries, time limits, stipulations to admission of exhibits and undisputed
    2   facts.
    3            2. STRICT COMPLIANCE WITH LOCAL RULE 16 IS REQUIRED.
    4   THIS ORDER SETS FORTH SOME DIFFERENT AND SOME ADDITIONAL
    5   REQUIREMENTS. THIS COURT DOES NOT EXEMPT PRO PER PARTIES
    6   FROM THE REQUIREMENTS OF RULE 16. Carefully prepared memoranda of
    7   contentions of fact and law, witness lists, a joint exhibit list, and a proposed
    8   pretrial conference order must be submitted in accordance with the Rules and this
    9   Order, and the format of the proposed pretrial conference order must conform to
   10   the format set forth in Appendix A to the Local Rules. Failure of documents to
   11   comply with these requirements may result in the pretrial conference being taken
   12   off-calendar or continued, or in other sanctions.
   13            3. The memoranda of contentions of fact and law, witness lists, and the
   14   joint exhibit list must be filed not later than the dates set by the Court.
   15            4. In addition to the requirements of Local Rule 16, the witness lists must
   16   include a brief (one or two paragraph) description of the testimony, and a time
   17   estimate for both direct and cross-examination (separately stated). If two or more
   18   witnesses will testify on the same topics, counsel must explain why more than one
   19   witness is necessary. A separate version of the witness list containing only the
   20   names of the witnesses and a separate column to insert the dates on which the
   21   witness testified, and the joint exhibit list, must be submitted to the Chambers
   22   email box in Word format. Mandatory paper chambers copies must also be
   23   submitted.
   24            5. Other documents to be filed in preparation for, and issues to be
   25   addressed at, the pretrial conference are discussed below.
   26            E.       ALTERNATIVE DISPUTE RESOLUTION (ADR)
   27                     PROCEDURES/NOTICE OF SETTLEMENT
   28            1. Counsel must complete an ADR proceeding no later than the date set by
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    1   the Court.
    2           2. No case will proceed to trial unless all parties, including an officer of all
    3   corporate parties (with full authority to settle the case), have appeared personally
    4   at an ADR proceeding.
    5           3. If settlement is reached, it must be reported immediately to the
    6   courtroom deputy clerk (CRD) as required by Local Rule 16-15.7 regardless of
    7   the day or time settlement is reached. In addition, counsel must immediately send
    8   a notification of the settlement to the Chambers email box.
    9           4. In all cases set for jury trial, the parties must notify the Court no later
   10   than the Wednesday preceding the Tuesday trial date of any settlement so that the
   11   necessary arrangements can be made to schedule a different case for trial or notify
   12   the members of the public who would otherwise be reporting for jury duty that
   13   their services are not needed on that date.
   14           5. Failure to comply with these notification requirements will cause
   15   counsel/parties to be charged for the costs related to processing jurors and may
   16   result in the imposition of sanctions on counsel for one or more parties, their
   17   clients, or both.
   18                                               II
   19                         ADDITIONAL TRIAL PREPARATION
   20           A.        MOTIONS IN LIMINE
   21           All motions in limine must be filed by the date established by the Court.
   22   Each side is limited to five motions in limine unless the Court orders otherwise for
   23   good cause shown. Counsel are to meet and confer to determine whether
   24   opposing counsel intends to introduce the disputed evidence, etc. and to attempt to
   25   reach an agreement that would obviate the motion. Opposition must be filed by
   26   the date established by the Court. The Court generally will rule on motions in
   27   limine at the pretrial conference. Motions in limine should address specific issues
   28   (i.e., not “to exclude all hearsay,” etc.). Motions in limine should not be disguised

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    1   motions for summary adjudication of issues.
    2           B.        JURY INSTRUCTIONS, SPECIAL VERDICT FORMS, VOIR
    3                     DIRE, JURY SELECTION
    4           1. At least fourteen days before the meeting of counsel required by Local
    5   Rule 16-2 (which must occur at least 40 days before the date set for the pretrial
    6   conference), plaintiff(s) counsel must serve on defense counsel proposed jury
    7   instructions and proposed verdict/special verdict forms. Within 7 days, defense
    8   counsel must serve objections, if any, to those instructions and verdict forms, as
    9   well as any proposed alternative or additional instructions and verdict forms.
   10   Before or at the Rule 16-2 meeting, counsel must attempt to come to agreement on
   11   the proposed jury instructions and verdict forms.
   12           2. When the Manual of Model Jury Instructions for the Ninth Circuit
   13   provides an applicable jury instruction, the parties should submit the most recent
   14   version, modified and supplemented to fit the circumstances of this case. Where
   15   language appears in brackets, the appropriate language should be selected. All
   16   blanks should be completed. Where California law applies, counsel should use
   17   the current edition of California Jury Instructions -- Civil (BAJI or CACI). If
   18   neither is applicable, counsel should consult the instructions manuals from other
   19   circuits or states, as applicable. When submitting other than Ninth Circuit or
   20   California instructions, counsel should be sure that the law on which the
   21   instruction is based is the same as Ninth Circuit law (or California or other state
   22   law, if applicable) on the subject. Counsel may submit alternatives to the Ninth
   23   Circuit model jury instructions, or BAJI or CACI, only if counsel has a reasoned
   24   argument that those instructions do not properly state the law or they are
   25   incomplete.
   26           3. The Court has its own introductory instructions (instructions read before
   27   opening statements). Counsel should provide only instructions to be read after the
   28   evidence has been submitted or that may be appropriate during trial.

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    1           4. Each requested instruction must (a) cite the authority or source of the
    2   instruction, (b) be set forth in full, (c) be on a separate page, (d) be numbered, (e)
    3   cover only one subject or principle of law, and (f) not repeat principles of law
    4   contained in any other requested instruction.
    5           5. By the date set by the Court, counsel must file with the Court and submit
    6   (electronically to the Chambers email box and in paper form) a JOINT set of jury
    7   instructions on which there is agreement. The Court expects counsel to agree on
    8   the substantial majority of jury instructions, particularly when pattern or model
    9   instructions provide a statement of applicable law. If one party fails to comply
   10   with the provisions of this section, the other party must file a unilateral set of jury
   11   instructions, unless that party wishes to waive jury trial.
   12           6. At the same time, each party must file with the Court and submit
   13   (electronically to the Chambers email box and in paper form) its proposed jury
   14   instructions that are objected to by any other party. Each disputed instruction
   15   must have attached a short (one or two paragraph) statement, including points and
   16   authorities in support of the instruction as well as a brief statement, including
   17   points and authorities, in support of any objections. A proposed alternative
   18   instruction must be provided, if applicable. If the Court believes there are so
   19   many disputed instructions that the trial would be unnecessarily interrupted in
   20   order for the Court to resolve disputes, the Court will determine that the matter is
   21   not yet ready to be tried, and will order counsel to continue to meet and confer
   22   until most of the disputes are resolved.
   23           7. Counsel must provide the documents described in paragraphs 5 and 6 to
   24   the Chambers email box in Word format at the time they file their proposed jury
   25   instructions.
   26           8. The Court will send one or more copies of the instructions into the jury
   27   room for the jury’s use during deliberations. Therefore, in addition to the copies
   28   described above, the Chambers email version must contain a “clean” set of jury

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    1   instructions, containing only the text of the instruction (one per page) with the
    2   caption “Instruction No. [leave blank] at the top (eliminating table of contents,
    3   titles, supporting authority, etc.). This document must have page numbers.
    4           9. Counsel must provide an index of all instructions submitted, which must
    5   include the following:
    6                     a. The number of the instruction;
    7                     b. The title of the instruction;
    8                     c. the source of the instruction and any relevant case citations;
    9                     d. The page number of the instruction.
   10   For example:
   11           Number                 Title                   Source          Page
   12              1            Duty of the Jury             9th Cir. 1.4       1
   13
   14           10. FAILURE TO FOLLOW THE PRECEDING PROVISIONS OF
   15   THIS SECTION WILL SUBJECT THE NON-COMPLYING PARTY AND
   16   ATTORNEY TO SANCTIONS AND WILL BE DEEMED TO
   17   CONSTITUTE A WAIVER OF JURY TRIAL.
   18           11. During the trial and before argument, the Court will meet with counsel
   19   and settle the instructions, and counsel will have an opportunity to make a further
   20   record concerning their objections.
   21           12. At the time of lodging the proposed pretrial conference order, counsel
   22   should file a jointly prepared one or two page statement of the case to be read by
   23   the Court to the prospective panel of jurors before commencement of voir dire.
   24           13. The Court will conduct the voir dire. The Court provides a list of basic
   25   questions, and may provide a list of additional questions to jurors before voir dire.
   26   (This is not a questionnaire to be completed by jurors.) Counsel may, but are not
   27   required to, file and submit (electronically to the Chambers email box and in paper
   28   form in Word format) a list of proposed case-specific voir dire questions at the

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    1   time they lodge the proposed pretrial conference order.
    2           14. In most cases the Court will conduct its initial voir dire of 16
    3   prospective jurors who will be seated in the jury box. Generally the Court will
    4   select eight jurors.
    5           15. Each side will have three peremptory challenges. Once all challenges
    6   for cause and peremptory challenges are exercised, the eight jurors in the lowest
    7   numbered seats will be the jury. If fewer than eight jurors remain, the Court may
    8   decide to proceed with six or seven jurors.
    9           C.        GLOSSARY, TRIAL EXHIBITS, WITNESS LISTS, ETC.
   10           1. All counsel are to meet not later than ten days before trial and to
   11   stipulate, so far as is possible, to foundation, to waiver of the best evidence rule,
   12   and to those exhibits that may be received into evidence at the start of the trial.
   13           2. At least one week before trial, counsel must send to the Chambers email
   14   box in Word format:
   15                     a. A case-specific glossary for the court reporter that includes
   16   applicable medical, scientific, or technical terms, slang, the names and spellings of
   17   case names likely to be cited, street/city/country names, all parties/entities
   18   involved in the case, names of people interviewed/deposed, names of family
   19   members, friends, or others who might be mentioned, and other case-specific
   20   terminology;
   21                     b. The party’s witness list, with a column to add the date on which
   22   the witness testified;
   23                     c. The joint exhibit list in the form specified in Local Rule 16-6. An
   24   annotated exhibit list identifying the exhibits to be received into evidence at the
   25   start of the trial must also be provided.
   26           3. On the first morning of trial, counsel must submit to the CRD:
   27                     a. All original exhibits (except those to be used for impeachment
   28   only), with official exhibit tags attached and bearing the same number shown on

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    1   the exhibit list. Exhibit tags may be obtained from the receptionist in the Public
    2   Intake Section, located on the 1st floor of the Edward R. Roybal Federal Building
    3   at 255 East Temple St., Room 180. Digital exhibit tags are also available on the
    4   Court’s website under Court Forms > General forms > Form G-14A (plaintiff) and
    5   G-14B (defendant). Exhibits must be numbered 1, 2, 3, etc., NOT 1.1, 1.2, etc.
    6   and in accordance with Local Rule 16-6. The defense exhibit numbers must not
    7   duplicate plaintiff’s numbers. If a “blow-up” is an enlargement of an existing
    8   exhibit, it must be designated with the number of the original exhibit followed by
    9   an “A.”;
   10                     b. Two sets of the exhibits that can be reproduced (one for the Court
   11   and one for witnesses) placed in three-ring binders with divider tabs containing
   12   the exhibit numbers. The face and spine of the binders must be marked with the
   13   case name and number, the volume number, and the number range of the exhibits
   14   in the binder. Each binder must contain an index of the exhibits included in the
   15   volume.
   16           4. A copy of the exhibit list with all admitted exhibits will be given to the
   17   jury during deliberations. Counsel must review and approve the exhibit list with
   18   the CRD before the list is given to the jury.
   19           5. Where a significant number of exhibits will be admitted, the Court
   20   encourages counsel, preferably by agreement, to consider ways in which
   21   testimony about exhibits may be made intelligible to the jury while it is being
   22   presented. Counsel should consider such devices as jury notebooks for admitted
   23   exhibits, or enlargements of important exhibits. The Court has an Elmo and other
   24   equipment available for use during trial. Information concerning training on the
   25   use of electronic equipment is available. Details are posted on the Court’s
   26   website. To make reservations for training, call 213-894-3061. The Court does
   27   not permit exhibits to be “published” by passing them up and down the jury box.
   28   Exhibits may be displayed briefly using the screens in the courtroom, unless the

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    1   process becomes too time-consuming.
    2           6. Counsel must not attempt to display or use any charts or enlargements of
    3   exhibits unless all counsel have agreed to their use or objections have been heard
    4   and a ruling has been made.
    5           D.        TRIAL
    6           1. On the day of jury selection, trial will begin at 9:00 a.m. Counsel must
    7   be prepared to go on the record at 8:30 a.m. Thereafter, trial days are generally
    8   Tuesday through Friday, 8:00 a.m. to 2:00 p.m., with three fifteen-minute breaks.
    9   When necessary, trials may continue beyond the normal schedule. If counsel
   10   contemplate that this schedule will be problematic due to the unavailability of
   11   witnesses, counsel should provide details to the Court at the pretrial conference.
   12           2. On the day of jury selection, the Court reserves the time from 8:30 a.m.
   13   to 9:00 a.m. to handle legal and administrative matters. Jury selection will begin
   14   promptly at 9:00 a.m. or as soon as jurors are available. Thereafter, legal and
   15   administrative matters must be addressed between 7:45 a.m. and 8:00 a.m. All
   16   counsel are urged to anticipate matters that may need to be addressed outside of
   17   the presence of the jury and to raise them during this period or at the end of the
   18   day. The Court does not make jurors wait while counsel discuss matters that
   19   should have been addressed previously. Counsel are urged to consider any
   20   unusual substantive or evidentiary issues that may arise, and to advise the Court of
   21   such issues as early as possible. Short briefs addressing such disputed issues are
   22   welcome.
   23           3. Before trial begins, the Court will give counsel an opportunity to discuss
   24   administrative matters and anticipated procedural or legal issues. Before trial
   25   begins, and as soon as the information becomes available to counsel, counsel
   26   should advise the court of any concerns or accommodations that are requested for
   27   parties or witnesses. During trial, if there are any matters to be discussed outside
   28   the presence of the jury, counsel must advise the CRD of the request. The Court

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    1   discourages sidebars during trial.
    2           4. All orders for transcripts must be ordered through the court reporter, Pat
    3   Cuneo, who can be contacted through www.patcuneo.com.
    4                                             III
    5                       CONDUCT OF ATTORNEYS AND PARTIES
    6           A.        OPENING STATEMENTS, EXAMINING WITNESSES, AND
    7                     SUMMATION
    8           1. Counsel must use the lectern for opening statements, examination of
    9   witnesses, and summation.
   10           2. Counsel must not consume time by writing out words, drawing charts or
   11   diagrams, etc. Counsel may do so in advance and explain that the item was
   12   prepared earlier as ordered by the Court to save time.
   13           3. The Court will establish reasonable time estimates for opening and
   14   closing arguments, examination of witnesses, etc.
   15           B.        OBJECTIONS TO QUESTIONS
   16           1. Counsel must not use objections for the purpose of making a speech,
   17   recapitulating testimony, or attempting to guide the witness.
   18           2. When objecting, counsel must rise to state the objection and state only
   19   that counsel objects and the legal ground of objection. If counsel wishes to argue
   20   an objection further, counsel must ask for permission to do so.
   21           C.        GENERAL DECORUM
   22           1. Counsel should not approach the CRD or the witness box without
   23   specific permission. If permission is given, counsel should return to the lectern
   24   when the purpose has been accomplished. Counsel should not question a witness
   25   at the witness stand.
   26           2. Counsel and parties should rise when addressing the Court, and when the
   27   Court or the jury enters or leaves the courtroom.
   28           3. Counsel should address all remarks to the Court. Counsel are not to

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    1   address the CRD, the court reporter, persons in the audience, or opposing counsel
    2   while on the record. If counsel wish to speak with opposing counsel, counsel
    3   must ask permission to do so. Any request for the re-reading of questions or
    4   answers must be addressed to the Court. Such requests should be limited and are
    5   not likely to be granted.
    6           4. Counsel should not address or refer to witnesses or parties by first name
    7   alone. Young witnesses (under 14) may, however, be addressed and referred to by
    8   first name.
    9           5. Counsel must not offer a stipulation unless counsel has conferred with
   10   opposing counsel and has verified that the stipulation will be acceptable.
   11           6. While Court is in session, counsel must not leave counsel table to confer
   12   with any personnel or witnesses unless permission has been granted in advance.
   13           7. Counsel should not by facial expression, nodding, or other conduct
   14   exhibit any opinion, adverse or favorable, concerning any testimony being given
   15   by a witness, statements or arguments by opposing counsel, or rulings by the
   16   Court. Counsel should admonish counsel’s own clients and witnesses to avoid
   17   such conduct.
   18           8. Counsel should not talk to jurors at all, and should not talk to co-
   19   counsel, opposing counsel, witnesses, or clients where the conversation can be
   20   overheard by jurors. Each counsel should admonish counsel’s own clients and
   21   witnesses to avoid such conduct.
   22           9. Where a party has more than one lawyer, only one may conduct the
   23   direct or cross-examination of a particular witness, or make objections as to that
   24   witness.
   25           D.        PROMPTNESS OF COUNSEL AND WITNESSES
   26           1. The Court makes every effort to begin proceedings at the time set.
   27   Promptness is expected from counsel and witnesses. Once counsel are engaged in
   28   trial, the trial is counsel’s first priority. The Court will not delay the trial or

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    1   inconvenience jurors except under extraordinary circumstances. The Court will
    2   advise other courts that counsel are engaged in trial in this Court on request.
    3           2. If a witness was on the stand at a recess or adjournment, counsel must
    4   have the witness back on the stand, ready to proceed, when the court session
    5   resumes.
    6           3. Counsel must notify the CRD in advance if any witness should be
    7   accommodated based on a disability or for other reasons.
    8           4. No presenting party may be without witnesses. If counsel has no more
    9   witnesses to call and there is more than a brief delay, the Court may deem that
   10   party to have rested.
   11           5. The Court attempts to cooperate with professional witnesses and will,
   12   except in extraordinary circumstances, accommodate them by permitting them to
   13   be called out of sequence. Counsel must anticipate any such possibility and
   14   discuss it with opposing counsel. If there is an objection, counsel must confer
   15   with the Court in advance.
   16           E.        EXHIBITS
   17           1. Each counsel should keep counsel’s own list of exhibits and should note
   18   when each has been admitted into evidence.
   19           2. Each counsel is responsible for any exhibits that counsel secures from
   20   the CRD and must return them before leaving the courtroom at the end of the
   21   session.
   22           3. An exhibit not previously marked should, at the time of its first mention,
   23   be accompanied by a request that the CRD mark it for identification. To save
   24   time, counsel must show a new exhibit to opposing counsel before it is mentioned
   25   in court.
   26           4. Counsel are to advise the CRD of any agreements they have with respect
   27   to the proposed exhibits and as to those exhibits that may be received so that no
   28   further motion to admit need be made.

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    1           5. When referring to an exhibit, counsel should refer to its exhibit number
    2   whenever possible. Witnesses should be asked to do the same.
    3           6. Counsel must not ask witnesses to draw charts or diagrams or ask the
    4   Court’s permission for a witness to do so. If counsel wishes to question a witness
    5   in connection with graphic aids, the material must be fully prepared before the
    6   court session starts.
    7           F.        DEPOSITIONS
    8           1. All depositions to be used at trial, either as evidence or potentially for
    9   impeachment, must be lodged with the CRD on the first day of trial or such earlier
   10   date as the Court may order. Counsel should verify with the CRD that the
   11   relevant deposition is in the CRD’s possession.
   12           2. In using depositions of an adverse party for impeachment, either one of
   13   the following procedures may be used:
   14                     a. If counsel wishes to read the questions and answers as alleged
   15   impeachment and ask the witness no further questions on that subject, counsel
   16   must first state the page and line where the reading begins and the page and line
   17   where the reading ends, and allow time for any objection. Counsel may then read
   18   the portions of the deposition into the record.
   19                     b. If counsel wishes to ask the witness further questions on the
   20   subject matter, the deposition is placed in front of the witness and the witness is
   21   told to read silently the pages and lines involved. Counsel may either ask the
   22   witness further questions on the matter and then read the quotations, or read the
   23   quotations and then ask further questions. Counsel should have an extra copy of
   24   the deposition for this purpose.
   25           3. Where a witness is absent and the witness’s testimony is offered by
   26   deposition, counsel may (a) have a reader occupy the witness chair and read the
   27   testimony of the witness while the examining lawyer asks the questions, or (b)
   28   have counsel read both the questions and answers.

        revised 11-5-20                             - 15 -
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                            UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
   10
                                           )   CASE NO.
   11                                      )
                                           )
   12                                      )
                                           )
   13                     Plaintiff(s),    )
                                           )
   14   vs.                                )   EXHIBIT LIST
                                           )
   15                                      )
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   16                                      )
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   17                     Defendant(s).    )
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   20    EX. No.          DESCRIPTION                   IDENTIFIED     ADMITTED

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                    Case 2:22-cv-03173-DSF-AS Document 45 Filed 03/17/23 Page 18 of 18 Page ID #:191




                                                                                                  JOINT TRIAL WITNESS ESTIMATE FORM

 CASE:                                                                                                                                                                  TRIAL DATE:




                       WITNESS NAME                                       PARTY CALLING                         X-EXAMINER'S                            DESCRIPTION OF TESTIMONY                                     COMMENTS

                                                                     WITNESS AND ESTIMATE                          ESTIMATE


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         TOTAL ESTIMATES THIS PAGE:



                                                                                                                     Instructions:

(1) List witnesses (last name first); (2) For description, be extremely brief, e g , "eyewitness to accident" or "expert on standard of care;" (3) Use estimates within fractions of an hour, rounded off to closest quarter of an hour, e g , if you

estimate 20 minutes, make it 25 An estimate of one and one-half hours would be 1 5 An estimate of three-quarters of an hour would be 75; (4) Note special factors in "Comments" column, e g , "Needs interpreter;" (5) Entries may be

in handwriting if very neat and legible
